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UNITED STATES DISTRICT COURT                                                DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                               DATE FILED: December 18, 2017
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UNITED STATES OF AMERICA                                                :
                                                                        :    S3 15 Cr. 616 (KBF)
         - v. -                                                         :
                                                                        :          ORDER
DARCY WEDD,                                                             :
                                                                        :
                                          Defendant.                    :
------------------------------------------------------------------------X
KATHERINE B. FORREST, United States District Judge:

        The Court has become aware that the defendant’s girlfriend contacted one or

more jurors via Facebook after the conclusion of trial, inquiring generally and

explicitly into the broad process of the jury’s deliberations. The Court has reason to

believe that at least one juror was uncomfortable with this solicitation. The Court

would like counsel to explain how the defendant’s girlfriend, who did not appear to

be taking notes during voir dire or during trial, learned the identities of the jurors.

Defense counsel is directed to respond to this Order and explain the situation not

later than Tuesday, December 19, 2017.

        SO ORDERED.

Dated:           New York, New York
                 December 18, 2017
                                                     ________________________________
                                                         KATHERINE B. FORREST
                                                        United States District Judge
